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 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: 2:05-cr-0090 FCD
     United States of America,           )
 9                                       ) STIPULATION & ORDER TO CONTINUE
                Plaintiff,               ) JUDGMENT & SENTENCING
10                                       )
          vs.                            ) Court: Hon. Frank C. Damrell, Jr.
11                                       ) Time:   10:00 a.m.
                                         ) Date:   September 10, 2007
12   Robert Osborn,                      )
                                         )
13              Defendant
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16        Mr. Osborn is scheduled to be sentenced on August 27, 2007.       Mr.
17   Osborn needs additional time to respond to the government’s objections
18   to the pre-sentence report.    The parties ask that Mr. Osborn’s
19   judgment and sentencing be continued to September 10, 2007 and that
20   date is available with the Court.
21
     Dated: August 22, 2007            Respectfully submitted,
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24                                     __/s/ Shari Rusk__
                                       /s/ Shari Rusk
25                                     Attorney for Defendant
                                       Robert Osborn
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     Dated: August 22, 2007           /s/ Matthew Segal
 1                                   Matthew Segal
                                      Assistant United States Attorney
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 3

 4
                                 ORDER
 5
          IT IS SO ORDERED.
 6
     DATED: August 22, 2007
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10                                _______________________________________
                                  FRANK C. DAMRELL, JR.
11                                UNITED STATES DISTRICT JUDGE
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